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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA,                     CRIMINAL NO.
                                              VIOLATIONS:
            V.

                                              18U.S.C. § 1962(d)
(1) MICHAEL L. BABICH                         (Racketeering Conspiracy)

(2) ALEC BURLAKOFF                            18 U.S.C. § 1963 (Forfeiture)

(3) MICHAEL J. GURRY

(4) RICHARD M. SIMON

(5) SUNRISE LEE

(6) JOSEPH A. ROWAN

(7) JOHNN. KAPOOR


       Defendants.




                      SECOND SUPERSEDING INDICTMENT
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